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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------------------------------X
UNITED STATES OF AMERICA,
                           Government,
                                                                            09 CR. 1082 (RMB)
        -against-
                                                                            ORDER
CAMERON DOUGLAS,
                           Defendant.
-------------------------------------------------------------X



        Based upon the factors of 18 U.S.C. § 3553(a) and the record herein, and specifically the
hearings held on October 13, 2020 and February 25, 2021, and the testimony and court exhibits
in those hearings reflecting Cameron Douglas’ early and successful completion of the terms and
conditions of his supervised release, the Court finds that an early termination of supervised
release effective today, February 25, 2021, is warranted and deserved. The Court further finds
that all of Mr. Douglas’ supervised release obligations, including community service, are
satisfied and hereby terminated.
        See transcripts of proceedings held on October 13, 2020 and February 25, 2021 for a
complete record.


Dated: February 25, 2021
       New York, NY




                                                                __________________________________
                                                                      RICHARD M. BERMAN
                                                                            U.S.D.J.
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    Cer!ﬁca# of Comple!on of Supervised Release

 To acknowledge $lﬁ%ment of &e #rms and condi!ons
 of Cameron Douglas’ supervised release, and his hard
   work and dedica!on, and achievements, &e Court
 hereby #rmina#s Douglas’ $r&er supervised release
                              obliga!ons.
         Congratula!ons for a job we% done.

                                                    _____________________________________________


February 25, 2021                                   Richard M. Berman
                                                    U.S. Dis)ict Judge
